     Case 2:19-cv-00142-APG-VCF Document 25 Filed 10/27/20 Page 1 of 3



1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3     DONALD ROTSIN BARREN,                                Case No. 2:19-cv-00142-APG-VCF
4                                            Plaintiff                    ORDER
5            v.
6     JAMES DZURENDA,
7                                       Defendants
8
9           This action is a pro se civil rights complaint filed under 42 U.S.C. § 1983 by a

10   former state prisoner. In compliance with this Court’s order, Plaintiff has submitted an

11   application to proceed in district court without prepaying fees or costs following his release

12   from prison. (ECF Nos. 23, 24.) Based on the financial information provided, the Court

13   grants Plaintiff leave to proceed without prepayment of fees or costs under 28 U.S.C.

14   § 1915(a)(1). 1

15          On May 1, 2020, the Court entered a screening order. (ECF No. 11.) The

16   screening order imposed a 90-day stay and the Court entered a subsequent order

17   assigning the case to mediation by a court-appointed mediator. (ECF Nos. 11, 17.) The

18   Office of the Attorney General has filed a status report indicating that settlement was not

19   reached and informing the Court of its intent to proceed with this action. (ECF No. 22.)

20          IT IS THEREFORE ORDERED that:

21          1.     Plaintiff’s application to proceed in district court without prepaying fees or

22   costs (ECF No. 24) is GRANTED.

23          2.     Plaintiff is permitted to maintain this action to conclusion without the

24   necessity of prepayment of any additional fees or costs or the giving of security therefor.

25   This order granting leave to proceed in district court without prepaying fees or costs will

26   not extend to the issuance and/or service of subpoenas at government expense.

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     1Plaintiff is not subject to the requirements of 28 U.S.C. § 1915(a)(2), (b) because he is
28   no longer a “prisoner” within the meaning of the statute. See 28 U.S.C. § 1915(h).
     Case 2:19-cv-00142-APG-VCF Document 25 Filed 10/27/20 Page 2 of 3



1           3.     The Clerk of the Court will electronically SERVE a copy of this order and a
2    copy of Plaintiff’s amended complaint (ECF No. 9) on the Office of the Attorney General
3    of the State of Nevada, by adding the Attorney General of the State of Nevada to the
4    docket sheet. This does not indicate acceptance of service.
5           4.     Service must be perfected within ninety (90) days from the date of this order
6    pursuant to Fed. R. Civ. P. 4(m).
7           5.     Subject to the findings of the screening order (ECF No. 11), within twenty-
8    one (21) days of the date of entry of this order, the Attorney General’s Office will file a
9    notice advising the Court and Plaintiff of: (a) the names of the defendants for whom it
10   accepts service; (b) the names of the defendants for whom it does not accept service,
11   and (c) the names of the defendants for whom it is filing the last-known-address
12   information under seal. As to any of the named defendants for whom the Attorney
13   General’s Office cannot accept service, the Office will file, under seal, but will not serve
14   the inmate Plaintiff the last known address(es) of those defendant(s) for whom it has such
15   information. If the last known address of the defendant(s) is a post office box, the Attorney
16   General's Office will attempt to obtain and provide the last known physical address(es).
17          6.     If service cannot be accepted for any of the named defendant(s), Plaintiff
18   will file a motion identifying the unserved defendant(s), requesting issuance of a
19   summons, and specifying a full name and address for the defendant(s).                 For the
20   defendant(s) as to which the Attorney General has not provided last-known-address
21   information, Plaintiff will provide the full name and address for the defendant(s).
22          7.     If the Attorney General accepts service of process for any named
23   defendant(s), such defendant(s) will file and serve an answer or other response to the
24   complaint within sixty (60) days from the date of this order.
25          8.     Plaintiff shall serve upon defendant(s) or, if an appearance has been
26   entered by counsel, upon their attorney(s), a copy of every pleading, motion or other
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     Case 2:19-cv-00142-APG-VCF Document 25 Filed 10/27/20 Page 3 of 3



1    document submitted for consideration by the Court.        If Plaintiff electronically files a
2    document with the Court’s electronic-filing system, no certificate of service is required.
3    Fed. R. Civ. P. 5(d)(1)(B); Nev. Loc. R. IC 4-1(b); Nev. Loc. R. 5-1. However, if Plaintiff
4    mails the document to the Court, Plaintiff shall include with the original document
5    submitted for filing a certificate stating the date that a true and correct copy of the
6    document was mailed to the defendants or counsel for the defendants. If counsel has
7    entered a notice of appearance, Plaintiff shall direct service to the individual attorney
8    named in the notice of appearance, at the physical or electronic address stated therein.
9    The Court may disregard any document received by a district judge or magistrate judge
10   which has not been filed with the Clerk, and any document received by a district judge,
11   magistrate judge, or the Clerk which fails to include a certificate showing proper service
12   when required.
13         9.     This case is no longer stayed.
14
                       27th
15         DATED THIS ____ day of October 2020.
16
17                                            UNITED STATES MAGISTRATE JUDGE
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